                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI

DANIEL UMPA, on behalf of himself and           )
all others similarly situated,                  )
                                                )
                         Plaintiff,             )
                                                )         Case No. 4:23-cv-00945-SRB
         v.                                     )
                                                )         Judge Stephen R. Bough
THE NATIONAL ASSOCIATION OF                     )
REALTORS, et al.,                               )         Oral Argument Requested
                                                )
                         Defendants.            )
                                                )

           MOTION OF AT WORLD PROPERTIES, LLC TO STRIKE
    CLASS ALLEGATIONS AS TO ARBITRATING PUTATIVE CLASS MEMBERS

       Pursuant to Rule 12(f) of the Federal Rules of Civil Procedure and in accordance with

the scheduling Order of this Court, defendant At World Properties, LLC (“@properties”), by its

attorneys, moves to strike Plaintiff’s class allegations and the proposed class definition in the

Complaint because they do not exclude persons who agreed to binding arbitration clauses and/or

class action waivers (“Arbitrating Putative Class Members”) that are contained in their listing

agreements with @properties. Alternatively, the Court should stay all putative or actual claims

of the Arbitrating Putative Class Members pending a ruling on a motion to compel arbitration

and/or a ruling on class certification. In bringing this Rule 12(f) motion to strike, @properties

intends to preserve and enforce the class action waiver agreement and assert its arbitration rights

to the maximum extent permissible in its initial response to the Complaint. If and to the extent

Arbitrating Putative Class Members later come before this Court, @properties intends to

promptly move to seek dismissal of their claims pursuant to the class action waiver agreement

and to compel arbitration of their claims.

       In support of this motion, @properties relies on (a) the Suggestions submitted in support



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of its Separate Rule 12(f) Motion to Strike Class Allegations as to Arbitrating Putative Class

Members (the “Motion to Strike Suggestions”); and (b) the Declaration of George Schultz and

accompanying exhibits that are being submitted with the Motion to Strike Suggestions. In

addition, @properties relies on the pleadings and records on file with this Court and such

argument as may be presented at any hearing on this motion.

Dated: February 26, 2024                   Respectfully submitted,

                                           COOLING & HERBERS, P.C.

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                                           Attorneys for At World Properties, LLC




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                               CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on February 26, 2024, the foregoing
MOTION OF AT WORLD PROPERTIES, LLC TO STRIKE CLASS ALLEGATIONS
AS TO ARBITRATING PUTATIVE CLASS MEMBERS was electronically filed with the
Clerk of the Court by utilizing the CM/ECF System, which will provide electronic notification to
all counsel of record.


                                            /s// Elizabeth A. Vasseur-Browne
                                            Elizabeth A. Vasseur-Browne




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